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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA


  YVETTE J. HARRELL,
                                                       Case No
                                Plaintiff,

  vs.

  CITY OF OPA-LOCKA

                          Defendant.                    JURY TRIAL DEMANDED
  ______________________________________________________________________________


                                             COMPLAINT
         This is an action by Plaintiff, Yvette Harrell, for discrimination due to her gender in

  violation and retaliation 42 U.S.C. §2000e, et seq., Title VII of the Civil Rights Act of 1964, as

  amended by the Civil Rights Act of 1991 (“Title VII”); 42 U.S.C. §1981 (“§1981); the Florida

  Civil Rights Act of 1992 Section 760.01-760.11 (“FCRA”), Florida’s Whistleblower Act, Fla. Stat.

  § 112.3187, and breach of contract, to correct unlawful employment practices on the basis of sex

  and to provide appropriate relief to the Plaintiff, Yvette Harrell (“Ms. Harrell” or “Harrell”), who

  was adversely affected by such practices of the Defendant, City of Opa- Locka, (“City”).

                                      JURISDICTION AND VENUE

  1.     The court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §1331 as this

  action arises under the Constitution or laws of the United States. Jurisdiction also exists pursuant

  to 28 U.S.C. §1343 (a)(4) in that it seeks to recover damages or to secure equitable or other relief

  under actions of Congress, specifically 42 U.S.C. §1981 and 42 U.S.C. §2000e which provide

  causes of action for the protection of Constitutional and civil rights, injunctive remedies, damages

  and reasonable attorney’s fees. Plaintiff further invokes the jurisdiction of this Court pursuant to


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  28 USC §1332 as diversity exists between the parties. Finally, the court has supplemental

  jurisdiction over the state law claims pursuant to 28 U.S.C. §1367.

  2.     Venue is proper in this District pursuant to 28 U.S.C. §1391 because the DEFENDANTS

  conduct business in the Southern District of Florida, and further because a substantial part of the

  events giving rise to the Complaint occurred in the Southern District of Florida.

  3.     This is an action for damages exceeding $75,000.00, exclusive of costs, interest and

  attorneys’ fees.

                                              PARTIES

  4.     Yvette Harrell is a citizen of the United States and is a resident of Miami-Dade County,

  Florida. At all times relevant herein, Harrell worked for the City.

  5.     City of Opa-Locka is a municipal corporation established under the constitution of the State

  of Florida.

  6.     At all times relevant, City has done business in Florida and has been an employer affecting

  commerce within the meaning of Section 701(b), (g) and (h) of Title VII, 42 U.S.C. § 2000e(b),

  (g) and (h).

                                   CONDITIONS PRECEDENT

  7.     More than 30 days prior to the institution of this lawsuit, Ms. Harrell filed a dual Charge

  of Discrimination with the EEOC and the Florida Civil Rights Commission alleging that the City

  violated Title VII.

  8.     EEOC sent the Charge to the Department of Justice and the Department of Justice issued a

  Right to Sue letter on January 31, 2020. Ms. Harrell received the certified letter on February 8,

  2020. See Exhibit 1 and 2.

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  9.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                                     STATEMENT OF FACTS

  10.     Ms. Harrell is a female with over 15 years of experience as an attorney at law.

  11.    Ms. Harrell was hired as the assistant City Manager from June 2015 to March 2016.

  12.    Ms. Harrell was retained again as the assistant City Manager for the time period of March

  2016 to April 2016, in where she worked as the acting interim and permanent City Manager from

  April 2016 to July 2017.

  13.    Ms. Harrell became the City Manager in the midst of a financially chaotic and uncertain

  time which involved a State Oversight Board and which was accompanied investigations by

  several agencies, including one that included the arrest and conviction of high-level city officials.

  14.    Faced with issues of the most significant magnitude (insolvency of the City was

  considered), Ms. Harrell took the position and using her business acumen and legal skills, went to

  work for the people of the City of Opa-locka.

  15.    While working during her first tenure, under her administration, Ms. Harrell reduced

  spending in the City by hundreds of thousands of dollars, identified monies available to the City,

  terminated non-beneficial agreements and identified redundant personnel positions.

  16.    In spite of the City’s obvious progression under her administration, Commissioner Kelley

  would often state that because of Ms. Harrell’s ineptitude, he desired to have the former male City

  Manager return.




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  17.    During this time, Commissioner Joseph Kelley would constantly undermine and minimize

  Ms. Harrell’s efforts, blatantly disregard her authority as the City Manager, require staff to work

  directly with him in contradiction of her directives and belittle her in the public Commission

  meetings.

  18.    At one point, after yet another maligning interaction with Commissioner Kelley, Ms.

  Harrell, advised the City in a written email that she would no longer tolerate the hostile work

  environment and discriminatory treatment of Commissioner Kelley.

  19.    In spite of this illegal treatment, Ms. Harrell continued to try to work with Commissioner

  Kelley for the betterment of the City, to no avail.

  20.    Finally after having accomplished her goal of stabilizing the City’s finances to a point

  where insolvency was no longer a public discussion, she decided she would relieve herself of the

  discriminatory and unrelenting treatment of Commissioner Kelley.

  21.    Having a heart for the people of Opa-locka and a desire to help “right” the decades of

  “wrongs” against them, Ms. Harrell returned to the City as City Manager to once again assist with

  the financial disclosures that were overdue to the State.

  22.    Ms. Harrell was retained again to act as the City Manager from October 2018 to until

  December 12, 2018, when she was unlawfully terminated and defamed by Commissioner Kelley

  and his co-conspirators.

  23.    Commissioner Kelley stated on various occasions immediately prior to and upon Ms.

  Harrell’s return that he would not work with “that lady” because Ms. Harrell refused to recognize

  him as the “Senior Stateman” in the City.



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  24.    True to his word, Commissioner Kelley began to disparage and threaten to do “whatever

  [he] had to” to either prevent Ms. Harrell’s return or make sure she was terminated.

  25.    Prior to the Contract being presented to the City Commission for approval, it was discussed

  with and encouraged by the then head of the State Oversight Board which governed the City’s

  expenditures, prior to being presented to the City Commission.

  26.    In fact, when asked about the possibility of a contract for Ms. Harrell, the then head of the

  State Oversight Board stated, “of course. No one would take that job without some assurances.”

  27.    In spite of Commissioner Kelley’s efforts, he failed at preventing Ms. Harrell’s re-

  employment with the City and the City Commission approved her return and her employment

  contract (the “Contract).

  28.    Immediately upon her return to the City as Manager, Ms. Harrell began to work on the

  budget and other financial disclosures.

  29.    Having an intimate knowledge of the pressure often placed on employees by outside

  influences, Ms. Harrell also began to meet with the employees to discuss any concerns they may

  have concerning the City’s operation.

  30.    In those initial meetings with employees, two employees on different occasions revealed

  that they were pressured to work for the personal benefit of one of the commissioners during City-

  work hours.

  31.    Both employees, one of whom was a manager, advised Ms. Harrell that they felt that if

  they failed to perform as required, they would be terminated.




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  32.     Upon learning of yet another instance of unethical and potentially illegal activities in the

  City, Ms. Harrell forwarded communication to the City Commission and City Attorney advising

  of her concerns and requesting whistleblower protection under Florida’s Whistleblower Act, Fla.

  Stat. § 112.3187.

  33.     Ms. Harrell also reported what she had become aware of to the Miami-Dade County Ethics

  Commission (“Ethics”) among others the correspondence forwarded to the City Commission

  included Ethics in the list of recipients.

  34.     During another meeting with personnel, Ms. Harrell also became aware of an incident

  involving the wife of Commissioner Kelley and her attempt at interfering in a law enforcement

  investigation concerning her family member.

  35.     Ms. Harrell was immediately retaliated against once the City received the email concerning

  the investigations that she was conducting.

  36.     Specifically, the hostile work environment conditions as caused by Commissioner Kelley

  worsened.

  37.     During this time, the City was preparing for an election for several seats on the

  Commission.

  38.     Commissioner Kelley assured individuals in the City that he would work to get certain

  individuals elected and once elected he would guarantee that Ms. Harrell would be terminated

  shortly thereafter.

  39.     The City did not respond to Ms. Harrell’s investigation disclosure or her request for

  whistleblower protection.



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  40.      However, at least one of the then-seated elected officials individually informally inquired

  into Ms. Harrell’s investigations and advised that they supported the investigation and elimination

  of any wrongdoings, especially as it related to City employees.

  41.      As Ms. Harrell was investigating the incidents, she was cooperating with Ethics, and

  provided them with documents, names and other information she had uncovered.

  42.      Throughout this time, Commissioner Kelley continued to disparage and belittle Ms.

  Harrell, refused to directly speak with her, publicly announced that he would see to it that the

  former male City manager would return and she would be terminated.

  43.      During these investigations and Ms. Harrell’s other administrative duties, Commissioner

  Kelley was multiple individuals that if “she” would meet with him “and reassure him” that she

  would treat him the way she treated the then-Mayor Myra Taylor, he would reconsider the item to

  terminate her.

  44.      Although humiliated by having to address the individual who had constantly caused a

  hostile work environment and treated her with disdain and disregard simply because of her gender,

  Ms. Harrell agreed to meet with the Commissioner for what she believed to be the “good of the

  City.”

  45.      During that meeting, the Commissioner reiterated his role as the “Senior Stateman” and

  reprimanded Ms. Harrell for not seeking his direction before making decisions in the City,

  including the undergoing investigations.

  46.      Ms. Harrell advised the Commissioner that she was aware of the disparaging comments he

  made about her (even giving direct examples) and that she was aware of the fact that he desired

  the return of the former city manager who was male.

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  47.    Commissioner Kelley never denied making any of the unprofessional and gender-based

  comments but did admit to wanting the return of the former city manager.

  48.    Realizing that this meeting was likely simply another way the Commissioner sought to

  further express his dominance over her, Ms. Harrell advised him that she believed she had acted

  in conformance with her duty as City Manager and that she did not believe anything she could do

  would change how he felt about her.

  49.    The meeting ended with formalities and with the Commissioner advising, he would “wait

  to see how she acted” before determining whether he would withdraw the item for her termination.

  50.    Recognizing that she would likely be terminated, Ms. Harrell began to work with personnel

  even more diligently to ensure that the City’s overdue financial disclosures as well as the

  environmental conditions that were impacting the health of the residents were being finalized and

  addressed.

  51.    Within a little more than a month after being rehired, Ms. Harrell was able to present the

  City with a balanced budget that was passed and implemented and she also implemented corrective

  measures to mitigate the environmental health concerns of the City. The proof of which was well-

  documented and available for review.

  52.    Shortly after implementing a program to address the absurdly high water bills that residents

  were receiving in addition to reviving dormant negotiations with the law enforcement union,

  Commissioner Kelley conspired with some of the newly elected officials to terminate Ms. Harrell.

  53.    At least one newly elected official was not able to be influenced and blatantly refused to

  accept or go along with the scheme to wrongfully terminate Ms. Harrell.



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  54.    In spite of the achievement realized under Ms. Harrell’s administration in such a short time,

  the City Commission wrongfully terminated Ms. Harrell and refused to honor the Contract that

  had been in operation between the City and Ms. Harrell since her return to the City.

  55.    Ms. Harrell stated repeatedly that she stood by the allegations made in in her Whistleblower

  complaint and that she was entitled to receive all benefits due to her under the terms of the agreed

  upon and Commission-approved Contract.

  56.    The City ignored the known discriminatory treatment of Ms. Harrell, her request for

  Whistleblower protection as well as its obligations under her employment Contract and unlawfully

  terminated Ms. Harrell.

                            COUNT I -VIOLATION OF 42 U.S.C. §1981
                                     (Disparate Treatment)

  57.    PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  58.    At all times asserted herein, the PLAINTIFF was in a contractual relationship with

  DEFENDANT as a result of their employment relationship as defined within Section 1981 and as

  such, prohibited from discriminating on the basis of sex.

  59.    The incidents alleged previously by the PLAINTIFF, establish that the DEFENDANT

  intentionally discriminated against her due to her sex, as she was subjected to disparate treatment

  compared to her male counterparts in regard to job classifications, compensation rates, training,

  the enforcement of DEFENDANT policies and procedures and other conduct which may become

  known throughout the course of discovery, in violation of Section 1981.




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  60.    The DEFENDANT’S conduct in treating the PLAINTIFF differently than her male

  counterparts was due, in whole or part, to her gender, which was a motivating factor or

  determinative factor for the disparate treatment, in violation of Section 1981.

  61.    As depicted in the actions described above, the DEFENDANT’S conduct substantially

  impaired the enjoyment of the privileges and benefits of the PLAINTIFF’S employment contract

  in violation of Section 1981 of the Civil Rights Act of 1866.

  62.    DEFENDANT’S purported reasons for the actions taken against PLAINTIFF are pretext

  for discrimination.

  63.    As a direct and proximate result of DEFENDANT’S sex discrimination, the PLAINTIFF

  suffered lost earnings and benefits, impairment of earning capacity, benefits and/or retirement

  benefits, loss of reputation, professional and personal embarrassment, and other emotional distress,

  including anxiety, anguish, humiliation and other incidental and consequential damages and

  expenses and thus is entitled to monetary and compensatory relief.

  64.    The conduct of DEFENDANT, as set forth above, was intentional, willful, malicious,

  oppressive, reckless and done in complete disregard of the PLAINTIFF’S rights thereby justifying

  an award of punitive damages from the DEFENDANT.

  65.    As further direct and proximate result of the DEFENDANT’S violations of Section 1981,

  as heretofore described, the PLAINTIFF has been compelled to retain the services of counsel in

  an effort to enforce the laws of this State prohibiting such discrimination, and hence forced to incur

  legal fees and costs, the full nature and extent of which are presently unknown to the PLAINTIFF,

  who therefore will seek leave of Court to amend this Complaint in that regard when the same shall




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  be fully and finally ascertained. As such, PLAINTIFF requests that attorneys’ fees be awarded

  pursuant to Section 1981.

             COUNT II -VIOLATION OF TITLE VII-GENDER DISCRIMINATION
                              (42 U.S.C. §2000E ET.SEQ.)

  66.       PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  67.       At all relevant times, DEFENDANT conducted business and operated out of the Southern

  District of Florida, employing greater than 15 employees and thus was an “employer” as defined

  in Title VII, and as such prohibited from discriminating in employment on the basis of gender.

  See 42 U.S.C. §2000e.

  68.       At all relevant times it was unlawful for DEFENDANT, as an employer, discriminate

  against any individual with respect to compensation, terms, conditions and privileges of

  employment, because of gender. See 42 U.S.C. §2000e-2.

  69.       At all relevant times, the PLAINTIFF was an employee within the meaning of Title VII,

  protected against discrimination in employment on the basis of her gender. See 42 U.S.C. §2000e.

  70.       Throughout her employment and up until her employment ended DEFENDANT, by and

  through agents, discriminated against PLAINTIFF on the basis of her gender as alleged previously

  herein.     As such, the PLAINTIFF’S gender was a determining factor in DEFENDANT’S

  employment decisions, including her compensation, terms and conditions of employment.

  71.       Through the actions described above, the DEFENDANT knowingly and willfully

  discriminated against the PLAINTIFF on the basis of her gender, in violation of Title VII.




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  72.    DEFENDANT’S purported reasons for the actions taken against PLAINTIFF are pretext

  for discrimination.

  73.    As a direct and proximate result of DEFENDANT’S gender discrimination, the

  PLAINTIFF suffered lost earnings and fringe benefits, loss of reputation, professional and

  personal embarrassment, and other emotional distress, including anxiety, anguish, humiliation and

  other incidental and consequential damages and expenses, and thus is entitled to monetary

  compensatory relief.

  74.    The conduct of DEFENDANT, as set forth above, was intentional, willful, malicious,

  oppressive, reckless and done in complete disregard of the PLAINTIFF’S rights thereby justifying

  an award of punitive damages from the DEFENDANT.

  75.    As further direct and proximate result of the DEFENDANT’S violations of Title VII, as

  heretofore described, the PLAINTIFF has been compelled to retain the services of counsel in an

  effort to enforce the laws of this State prohibiting such discrimination, and hence forced to incur

  legal fees and costs, the full nature and extent of which are presently unknown to the PLAINTIFF,

  who therefore will seek leave of Court to amend this Complaint in that regard when the same shall

  be fully and finally ascertained. As such, PLAINTIFF requests that attorneys’ fees be awarded

  pursuant to Title VII.

                   COUNT III-VIOLATION FLORIDA CIVIL RIGHTS ACT
                              (GENDER DISCRIMINATION)

  75.    PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  76.     At all relevant times, DEFENDANT’S conducted business and operated out of the

  Southern District of Florida, employing greater than 15 employees and thus was an “employer” as
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  defined in the Florida Civil Rights Act of 1992, ss. 760.02, and as such prohibited from

  discriminating in employment on the basis of gender.

  77.       At all relevant times it was unlawful for DEFENDANT, as employers, to discriminate

  against any individual with respect to compensation, terms, conditions and privileges of

  employment, because of gender under the Florida Civil Rights Act.

  78.       At all relevant times, the PLAINTIFF was an employee within the meaning of the Florida

  Civil Rights Act of 1992, protected against discrimination in employment on the basis of her

  gender.

  79.       Throughout her employment and up until her employment ended DEFENDANT, by and

  through agents, discriminated against PLAINTIFF on the basis of her gender as alleged previously

  herein.     As such, the PLAINTIFF’S gender was a determining factor in DEFENDANT’S

  employment decisions, including her compensation, terms and conditions of employment and

  ultimate departure.

  80.       Through the actions described above, the Defendant knowingly and willfully discriminated

  against the PLAINTIFF on the basis of her gender, in violation of the Florida Civil Rights Act of

  1992.

  81.       DEFENDANT’S purported reasons for the actions taken against PLAINTIFF are pretext

  for discrimination.

  82.       As a direct and proximate result of DEFENDANT’S gender discrimination, the

  PLAINTIFF suffered lost earnings and benefits, impairment of earning capacity, loss of reputation,

  professional and personal embarrassment, and other emotional distress, including anxiety, anguish,



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  humiliation and other incidental and consequential damages and expenses, and thus is entitled to

  monetary and compensatory relief.

  83.     The conduct of DEFENDANT, as set forth above, was intentional, willful, malicious,

  oppressive, reckless and done in complete disregard of the PLAINTIFF’S rights thereby justifying

  an award of liquidated and punitive damages from the DEFENDANT.

  84.     As further direct and proximate result of the DEFENDANT’S violations of the Florida

  Civil Rights Act, as heretofore described, the PLAINTIFF has been compelled to retain the

  services of counsel in an effort to enforce the laws of this State prohibiting such discrimination,

  and hence forced to incur legal fees and costs, the full nature and extent of which are presently

  unknown to the PLAINTIFF, who therefore will seek leave of Court to amend this Complaint in

  that regard when the same shall be fully and finally ascertained. As such, PLAINTIFF requests

  that attorneys’ fees be awarded pursuant to the Florida Civil Rights Act.

                           COUNT IV-VIOLATION OF 42 U.S.C. §1981
                                     (RETALIATION)

  85.     PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  86.     At all times asserted herein, the PLAINTIFF was in a contractual relationship with

  DEFENDANT as a result of their employment relationship as defined within Section 1981 and as

  such, DEFENDANT was prohibited from discriminating against PLAINTIFF on the basis of her

  race.

  87.     The incidents alleged previously by the PLAINTIFF, establish that the DEFENDANT

  intentionally discriminated against her due to her sex, or that she reasonably perceived the

  DEFENDANT’S conduct as sexual discriminatory.
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  88.    The PLAINTIFF complained of and opposed sexual discrimination during the contractual

  employment relationship with the DEFENDANT specifically, by complaining that she was

  enduring a hostile work environment by opposing the differential enforcement of policies between

  herself and male counterparts.

  89.    As a result of opposing sexual discrimination, the PLAINTIFF enjoyed the protections

  afforded under 42 U.S.C. §1981 against retaliation in employment.

  90.    The aforesaid actions created a hostile working environment ultimately causing the

  PLAINTIFF emotional stress, anxiety, embarrassment and defamation.

  91.    A causal connection exists between the PLAINTIFF’S protected activities as described

  above and the aforementioned conduct.

  92.    The aforementioned acts of retaliation occurred during PLAINTIFF’S tenure of

  employment with DEFENDANT and after she opposed gender discrimination.

  93.    The aforementioned acts of the DEFENDANT pervaded the workplace and resulted in fear

  of, and actual adverse actions against the PLAINTIFF.

  94.    The aforementioned acts of the DEFENDANT were intentional, mean spirited, done with

  malice and ill will and consistent with the mindset that discriminatory behavior was acceptable,

  and that any such complaints were to be responded to by an unrelenting barrage of retaliatory

  conduct including but not limited to isolation, demeaning work-assignments and comments,

  decreased compensation, and false accusations of impropriety.

  95.    As a direct and proximate result of the DEFENDANT’S actions as described above, the

  PLAINTIFF has suffered compensatory damages including, back pay, front pay, loss of income



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  and benefits, pension and/or retirement benefits, impairment of earning capacity, emotional

  distress, anxiety, anguish, humiliation, and other incidental and consequential damages and

  expenses.

  96.    The DEFENDANT’S actions were intentional, deliberate, willful, malicious, reckless and

  conducted in callous disregard of causing harm to the PLAINTIFF, entitling her to punitive

  damages under 42 U.S.C. §1981.

  97.    As further direct and proximate result of the DEFENDANT’S violations of Section 1981,

  as heretofore described, the PLAINTIFF has been compelled to retain the services of counsel in

  an effort to enforce the laws of this State prohibiting such discrimination, and hence forced to incur

  legal fees and costs, the full nature and extent of which are presently unknown to the PLAINTIFF,

  who therefore will seek leave of Court to amend this Complaint in that regard when the same shall

  be fully and finally ascertained. As such, PLAINTIFF requests that attorneys’ fees be awarded.

                    COUNT V- VIOLATION OF TITLE VII- RETALIATION
                               (42 U.S.C. §2000E ET.SEQ.)

  98.    PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  99.    At all times mentioned herein, PLAINTIFF was an employee within the meaning of Title

  VII protected against retaliation due to her opposition to and complaints about gender

  discrimination.

  100.   The incidents alleged previously by the PLAINTIFF, establish that the DEFENDANT

  intentionally discriminated against her due to her gender, or that she reasonably perceived the

  DEFENDANT’S conduct as discriminatory.



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  101.   The PLAINTIFF complained of and opposed gender discrimination during her tenure,

  specifically, by complaining that she was enduring a hostile work environment by opposing the

  differential enforcement of policies between herself and male employees.

  102.   The PLAINTIFF’S actions in opposing gender discrimination and complaining about such

  conduct were protected activities under Title VII.

  103.   The DEFENDANT subjected PLAINTIFF to materially adverse employment actions after

  she engaged in the aforesaid protected activities. Such as reducing her voice as the City Manager

  in public meetings.

  104.   A causal connection exists between the PLAINTIFF’S protected activities as described

  above and the aforementioned conduct.

  105.   PLAINTIFF was treated less favorably than non-complaining co-workers, disciplined and

  ultimately terminated by the DEFENDANT in violation of the anti-retaliation provisions of Title

  VII for opposing and complaining about gender discrimination she was being subjected to by her

  male colleagues; and further for questioning the DEFENDANT’S failure to properly investigate

  her complaints.

  106.   The aforementioned acts of retaliation occurred during PLAINTIFF’S tenure of

  employment with DEFENDANT and after she opposed gender discrimination.

  107.   The aforementioned acts of the DEFENDANT pervaded the workplace and resulted in fear

  of, and actual adverse actions against the PLAINTIFF.

  108.   The aforementioned acts of the DEFENDANT were intentional, mean spirited, done with

  malice and ill will and consistent with the mindset that discriminatory behavior was acceptable,



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  and that any such complaints were to be responded to by an unrelenting barrage of retaliatory

  conduct including but not limited to isolation, demeaning work-assignments and comments,

  decreased compensation, and false accusations of impropriety.

  109.   As a direct and proximate result of the DEFENDANT’S actions as described above, the

  PLAINTIFF has suffered compensatory damages including, back pay, front pay, loss of income

  and benefits, pension and/or retirement benefits, impairment of earning capacity, emotional

  distress, anxiety, anguish, humiliation, and other incidental and consequential damages and

  expenses.

  110.   As further direct and proximate result of the DEFENDANT’S violations of Title VII, as

  heretofore described, the PLAINTIFF has been compelled to retain the services of counsel in an

  effort to enforce the laws of this State prohibiting such discrimination, and hence forced to incur

  legal fees and costs, the full nature and extent of which are presently unknown to the PLAINTIFF,

  who therefore will seek leave of Court to amend this Complaint in that regard when the same shall

  be fully and finally ascertained. As such, PLAINTIFF requests that attorneys’ fees be awarded

  pursuant to Title VII.

                           COUNT VI- FLORIDA CIVIL RIGHTS ACT
                                      (RETALIATION)

  111.   PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  112.   At all times mentioned herein, PLAINTIFF was an employee within the meaning of the

  Florida Civil Rights Act protected against retaliation due to her opposition to and complaints about

  gender discrimination.



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  113.   The incidents alleged previously by the PLAINTIFF, establish that the DEFENDANT

  intentionally discriminated against her due to her gender, or that she reasonably perceived the

  DEFENDANT’S conduct as discriminatory.

  114.   The PLAINTIFF complained of and opposed gender discrimination during her tenure,

  specifically, by complaining that she was enduring a hostile work environment by opposing the

  differential enforcement of policies between herself and male employees.

  115.   The PLAINTIFF’S actions in opposing gender discrimination and complaining about such

  conduct were protected activities under the Florida Civil Rights Act.

  116.   The DEFENDANT subjected PLAINTIFF to materially adverse employment actions after

  she engaged in the aforesaid protected activities.       The actions include engaging in conduct

  intended to isolate her from colleagues; initiating investigations into her conduct, stripping her of

  supervisory and other actions intended to negatively impact the PLAINTIFF’S ability to perform

  her duties.

  117.   A causal connection exists between the PLAINTIFF’S protected activities as described

  above and the aforementioned conduct.

  118.   PLAINTIFF was treated less favorably than non-complaining co-workers, disciplined and

  ultimately terminated by the DEFENDANTS in violation of the anti-retaliation provisions of the

  Florida Civil Rights Act for opposing and complaining about the gender discrimination she was

  being subjected to by her male colleagues; and further for questioning the DEFENDANT’S failure

  to properly investigate her complaints.

  119.   The aforementioned acts of retaliation occurred during PLAINTIFFS tenure of

  employment with DEFENDANT and after she opposed gender discrimination.

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  120.   The aforementioned acts of the DEFENDANT pervaded the workplace and resulted in fear

  of, and actual adverse actions against the PLAINTIFF.

  121.   The aforementioned acts of the DEFENDANTS were intentional, mean spirited, done with

  malice and ill will and consistent with the mindset that discriminatory behavior was acceptable,

  and that any such complaints were to be responded to by an unrelenting barrage of retaliatory

  conduct including but not limited to isolation, demeaning work-assignments and comments,

  decreased compensation, and false accusations of impropriety.

  122.   As a direct and proximate result of the DEFENDANT’S actions as described above, the

  PLAINTIFF has suffered compensatory damages including, back pay, front pay, loss of income

  and benefits, pension and/or retirement benefits, impairment of earning capacity, emotional

  distress, anxiety, anguish, humiliation, and other incidental and consequential damages and

  expenses.

  123.   As further direct and proximate result of the DEFENDANT’S violations of the Florida

  Civil Rights Act, as heretofore described, the PLAINTIFF has been compelled to retain the

  services of counsel in an effort to enforce the laws of this State prohibiting such discrimination,

  and hence forced to incur legal fees and costs, the full nature and extent of which are presently

  unknown to the PLAINTIFF, who therefore will seek leave of Court to amend this Complaint in

  that regard when the same shall be fully and finally ascertained. As such, PLAINTIFF requests

  that attorneys’ fees be awarded pursuant to the Florida Civil Rights Act.

                    COUNT VII-Violation of Florida’s Whistleblower Statute
                                   Fla. Stat. § 112.3187




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  124.   PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  125.   At all relevant times, DEFENDANT conducted business and operated out of Miami-Dade

  County, Florida, was and is an “Agency” as defined under Fla. Stat. Ch. 112.3187(3)(a) and was

  the employer of PLAINTIFF.

  126.   All conditions precedent to the bringing of this action including compliance with Fla. State.

  Ch.112.3187(8), have occurred, or have been attempted by the PLANITIFF, to no avail due to

  DEFENDANT’S refusal to investigate her timely submitted complaints; or alternatively, there are

  no conditions precedent required of the PLANTIFF to exhaust administratively prior to bringing

  the subject complaint.

  127.   DEFENDANT is responsible for all acts committed by its officers, agents and employees

  within the scope of their employment, including the board of City commissioners.

  128.   As a direct and proximate result of DEFENDANT’s unlawful retaliatory action,

  PLANTIFF was terminated and thus denied the opportunities attendant to same including the

  ability to earn income, pay increases, fringe benefits and promotional opportunities as associated

  and provided through employment with the DEFENDANT.                      Further, as a result of

  DEFENDANT’S unlawful practices,           PLAINTIFF will continue to lose substantial income

  including, but not limited to, wages, commissions and fringe benefits, loss of potential for

  promotion within her career track, damage to her personal and professional reputations, loss of

  self-esteem, loss of sense of personal and professional security, as such PLAINTIFF requests an

  award of back and front pay as determined by the proofs.




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  129.    As a direct and proximate result of DEFENDANT’S willful, knowing and intentional

  conduct, the PLAINTIFF has suffered and will continue to suffer emotional mental anguish and

  distress, outrage and anxiety about his future and ability to support herself, harm to her

  employability and earning capacity; embarrassment among friend, and colleagues; undermining

  of self-esteem and motivation, disruption of his personal life and loss of enjoyment of the ordinary

  pleasures of everyday life, as such she is entitled to general and compensatory damages in an

  amount to be proven at trial.

  130.    As a further direct and proximate result of DEFENDANT’S violations of Fla. Stat. Ch.

  §112.3187, et. Seq., PLAINTIFF has been compelled to retain the services of counsel in an effort

  to enforce the law of this State prohibiting such conduct, and hence forced to incur legal fees and

  costs, in an amount to be proven at trial.

                                     COUNT VIII-Breach of Contract

  131.    PLAINTIFF adopts and re-alleges each and every allegation as set forth in Paragraphs ten

  (10) to fifty-six (56) above as thought fully rewritten herein.

  132.    The is an action for breach of an agreed upon contract for employment as the City Manager

  for the City of Opa-Locka and the Plaintiff.

  133.    Both parties agreed to the terms of the contract and the agreement was unanimously

  approved and voted on by the City Commission during a public meeting.1


  134.    Defendant beached the agreement and failed to pay the Plaintiff all monies and benefits

  due under the agreement since December 12, 2018.



  1
   Defendant never gave finalized agreement to Plaintiff but operated under the agreement until the unlawful
  termination of Plaintiff.

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  135.   Defendant remains liable for all monies and benefits due and owing to the Plaintiff.

  136.   Plaintiff has suffered damages as result of the Defendant’s breach of the approved

  agreement in a presently indeterminable amount.

  137.   All conditions precedent necessary of the institution of the claim has been complied with

  by the Plaintiff and the same has been waived or excused by the Defendant.

  138.   Plaintiff has incurred costs and has retained the undersigned attorney to bring this action

  and is obligated to pay said attorney a reasonable fee for its services.

                                       PRAYER FOR RELIEF

         WHEREFORE, PLAINTIFF, Yvette Harrell, seeks judgment against DEFENDANTS, and

  respectfully requests the entry of a Judgment as follows:

         (a)     Declare and adjudge that DEFENDANT has violated the PLAINTIFF’S
                 rights under 42 U.S.C. §1981 et. seq., 42 U.S.C. §2000e, et. seq. (Title VII),
                 and Fla. Stat. Ch. 760, et. seq. (Florida Civil Rights Act of 1992);

         (b)     Award compensatory and punitive damages to the PLAINTIFF against
                 DEFENDANT to the full extent allowed under 42 U.S.C.§1981, Title VII
                 and the Florida Civil Rights Act of 1992, in amount(s) to be determined at
                 trial;

         (c)     Award monetary, general, equitable and/or special damages to the
                 PLAINTIFF under 42 U.S.C. §1981 et. seq., 42 U.S.C. §2000e, et. seq., and
                 Fla. Stat. Ch. 760, et. seq., including but not limited to back pay [wages,
                 salary, fringe benefits and pre-judgment interest], front pay, and medical
                 and retirement benefits, preferential rights to jobs and other damages for
                 lost compensation and job benefits with pre-judgment and post-judgment
                 interest suffered by the PLAINTIFF, to be determined at trial;

         (d)     Award PLAINTIFF the costs and expenses incurred in this action, including
                 reasonable attorneys’ fees and other litigation expenses as provided by 42
                 U.S.C. §1981 et. seq., 42 U.S.C. §2000e, et. seq., and Fla. Stat. Ch. 760, et.
                 seq.;

         (e)     Award statutory interest to the full extent provided 42 U.S.C. §1981 et. seq.,
                 42 U.S.C. §2000e, et. seq., and Fla. Stat. Ch. 760, et. seq.;

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        (f)    Award PLANTIFF compensatory and punitive damages against DEFENDANT to
               the full extent allowed under Fla. Stat. § 112.3187;


        (g)    Award damages for Breach of Contract and,

        (h)    Award the PLAINTIFF any such additional relief as this Court deems just
               and proper.


  JURY DEMAND

        PLAINTIFF, Yvette Harrell, hereby requests a trial by jury on all issues.

  Dated: May 7, 2020.



                                             Respectfully Submitted,

                                             /S/Arnold S. Gaines
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                                             Counsel for Plaintiff




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